Case No. 1:16-cr-00054-WJM Document 38 filed 04/01/16 USDC Colorado pg 1 of 2




                      IN THE UNITED STATES DISTRICT COURT
                          FOR THE DISTRICT OF COLORADO
                              Judge William J. Martínez

Criminal Case No. 16-cr-054-WJM

UNITED STATES OF AMERICA,

       Plaintiff,

v.

1.     HEATHER CARR,
2.     TRAMMEL THOMAS,
3.     MERCEDES DIAZ,

       Defendants.


       ORDER REGARDING JOINT DEFENSE AGREEMENT DISCLOSURES


       This matter comes before the Court sua sponte. This Court has the inherent

authority to require disclosure of the precise nature of a criminal defendant’s

representation to ensure that no conflict of interest exists which would deprive a

defendant of his Sixth Amendment right to effective assistance of counsel. See United

States v. Stepney, 246 F.Supp.2d 1069 (N.D. Cal. 2003). Accordingly the Court

ORDERS as follows:

       1.      On or before April 15, 2016, any Defendant who has entered into a Joint

               Defense Agreement shall submit such Agreement to the Court (filed under

               Restriction Level 3) for in camera review.

       2.      On or before April 15, 2016, any Defendant who has had his or her Initial

               Appearance prior to that date, and who as of that date has not entered a

               Joint Defense Agreement, shall submit a filing (under Restriction Level 3)
Case No. 1:16-cr-00054-WJM Document 38 filed 04/01/16 USDC Colorado pg 2 of 2




             informing the Court of as much.

      3.     Should any Defendant contemplate entering into a Joint Defense

             Agreement after this Order, that Defendant shall submit such Agreement

             to the Court (filed under Restriction Level 3) for in camera review PRIOR

             TO ITS EXECUTION.


      Dated this 1st day of April, 2016.

                                               BY THE COURT:



                                               __________________________
                                               William J. Martínez
                                               United States District Judge




                                           2
